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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ODELL EDWARDS, Individually and               §
as Representative of the Estate of Jordan,    §
Edwards, Deceased, VIDAL ALLEN                §
and KEVON EDWARDS                             §
      Plaintiffs,                             §
                                              §
v.                                            §
                                              §         CAUSE NO. 3:17-CV-01208-M
                                              §
SHAUNKEYIA KEYON STEPHENS,                    §         CHIEF JUDGE
RHONDA WASHINGTON,                            §         BARBARA M. G. LYNN
MAXWELL EVERETTE                              §
MAXIMUS EVERETTE                              §
    Intervenor Plaintiffs,                    §
                                              §
v.                                            §         JURY DEMANDED
                                              §
ROY OLIVER AND THE CITY OF                    §
BALCH SPRINGS, TEXAS,                         §
     Defendants.                              §

                          DEFENDANT’S, OFFICER ROY OLIVER,
                               NOTICE OF SETTLEMENT


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW DEFENDANT, Officer Roy D. Oliver (“Officer Oliver”), in the above-

styled and numbered cause, and submits his Notice of Settlement.

       1.     The litigating Parties previously mediated on two separate occasions. In the first

instance, Officer Oliver was not party to any communications. In the second instance and with

Former Judge Ferguson presiding, Oliver was excluded. Both efforts were unsuccessful and no

settlement was reached.

       2.     Per Judge Ferguson’s “Mediator’s Proposal”, settlement was eventually agreed

with Vidal Allen (“VA”), and Kevon Edwards (“KE”); Intervenor Plaintiff, Shaunkeyia Keyon
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Stephens (“Stephens”); Intervenor Plaintiffs, Rhonda Washington (“Washington”), Maximus

Everette (“MmE”) and Maxwell Everette (“MwE”) settled with Officer Oliver and the City of

Balch Springs (“Balch Springs”).

       3.     Plaintiff Odell Edwards and the formally unrepresented Estate of Jordan Edwards

did not settle their claims against Officer Oliver and Balch Springs. Those proceedings continue

in the United States Appellate Court—Fifth Circuit.


                                                      Respectfully submitted,


                                                      THE LAW OFFICES OF
                                                      WILLIAM W. KRUEGER, III, PC

                                                      /s/ William W. Krueger, III__ _________
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                                                      OFFICER ROY OLIVER




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing instrument
has been served upon all attorneys of record in this cause of action in accordance with Federal
Rules of Civil Procedure this 31st day of August, 2021.


                                             /s/William W. Krueger, III
                                            WILLIAM W. KRUEGER, III




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